 

aka

Case 7:16-cr-01589 Document 289 Filed on 11/01/16 in TXSD Page 1 of 10

States District Comt
ieee
UNITED STATES DISTRICT COURT NOV OL 2016
SOUTHERN DISTRICT OF TEXAS
McALLEN DIVISION David J. Bradiey, Clerk of Court
UNITED STATES OF AMERICA

v. Criminal No Me 76 ~ 1 5 § g
GUILLERMO MORALES

also known as “Don Gio”

ERICK ALAN TORRES DAVILA
also known as “Cachorro”
ELIZABETH LOPEZ-PEREZ
DAVID MARTINEZ

EFRAIN ROBLEDO

also known as “Payo”

RAUL VILLEGAS VILLANUEVA
OLEOMAR MONTALVO

also known as “Omar”

JESUS REMEDIOS MANQUEROS

OO) UP? CH) ) 3 GP CO) Oi WO) UO) C02 La UC UE (02 UR > (a >

ANTHONY RAY SANCHEZ
DEANNA MEAREE-SANCGHES AMAIRANI FLORES
also known as “Lizeth” 11/7/16 cr
MARIO GONZALEZ
NORBERTO CANTU
HECTOR HERNANDEZ CARDENAS
ELMER MACARIO RAMOS
OSCARTANGUMA, JR 11/21/16 §cr
also known as “Flaco” §
ARMANDO TANGUMA
ANDREW MARTINEZ True Name:ANDRES MARTINEZ 11/7/16 cr
HEATHER SEGURA §

11/18/18
EFRAIN LGPEZ DIMAS Lopez?*/*°/ 5.
SAMUEL JESUS OLIVO §

SEALED INDICTMENT

 

THE GRAND JURY CHARGES:

 

 

See ee eee ere

 

 

 

 
Case 7:16-cr-01589 Document 289 Filed on 11/01/16 in TXSD Page 2 of 10

Count One

 

From on or about February 2013, to on or about the date of this Indictment, in the Southern
District of Texas and within the jurisdiction of the Court, defendants,

GUILLERMO MORALES
also known as “Don Gio”
ERICK ALAN TORRES DAVILA
also known as “Cachorro”
ELIZABETH LOPEZ-PEREZ
DAVID MARTINEZ
EFRAIN ROBLEDO
also known as “Payo”
RAUL VILLEGAS VILLANUEVA
OLEOMAR MONTALVO
alsa known as “Omar”
JESUS REMEDIOS MANQUEROS
ANTHONY RAY SANCHEZ

BHARAMARHESANGCHES AMAIRANI FLORES
also known as “Lizeth” *
MARIO GONZALEZ
NORBERTO CANTU
HECTOR HERNANDEZ CARDENAS

ELMER MACARIO RAMOS
OSCAR TANGUMA, JR
also known as “Flaco”
ARMANDO TANGUMA
aka ANDREW MARTINEZ True Name: ANDRES MARTINEZ
HEATHER SEGURA

and
EFRAIN &@PEZ DIMAS LOPEZ

did knowingly and intentionally conspire and agree together and with other persons known and
unknown to the Grand Jurors, to possess with intent to distribute a controlled substance. The
controlled substance involved was 5 kilograms or more of a mixture or substance containing a

detectable amount of cocaine, a Schedule II controlled substance; 50 grams or more of

 

 

 

 

 

 

 

 

 
Case 7:16-cr-01589 Document 289 Filed on 11/01/16 in TXSD Page 3 of 10

methamphetamine, a Schedule IJ controlled substance; 100 kilograms or more of a mixture or
substance containing a detectable amount of marijuana, a Schedule I controlled substance.
In violation of Title 21, United States Code, Sections 846, 841(a)(1), 841(b)(1)(A) and
841(bX1)(B).
Count Two
From on or about January 2015 and up to this date, in the Southern District of Texas and
elsewhere within the jurisdiction of the Court, defendants,
GUILLERMO MORALES
also known as “Don Gio”
SAMUEL JESUS OLIVO
‘and
NORBERTO CANTU
did knowingly conspire and agree together and with other persons known and unknown to the
Grand Jurors to transport, transmit and transfer and attempt to transport, transmit and transfer
monetary instruments and funds from a place in the United States to a place outside the United
States with the intent to promote the carrying on of specified unlawful activity, that is the
distribution of a controlled substance.
In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and (h).
Count Three
On or about April 12, 2015, in the Southern District of Texas and elsewhere within the
jurisdiction of the Court, defendants,
GUILLERMO MORALES
also known as “Don Gio”

and
SAMUEL JESUS OLIVO

did attempt to transport monetary funds, that is approximately $998,030.00 in United States

currency, from a place in the United States, that is Alabama, to a place outside the United States,

 

 

 

 

 

rey weet

Renee neta

 

 
Case 7:16-cr-01589 Document 289 Filed on 11/01/16 in TXSD Page 4 of 10

that is Mexico, with the intent to promote the carrying on of specified unlawful activity, that is the

distribution of a controlled substance.
In violation of Title 18, United States Code, Sections 1956(a)(2)(A) and 2.

Count Four
On or about October 7, 2015, in the Southern District of Texas and within the jurisdiction

of the Court, defendants,

GUILLERMO MORALES
also known as “Don Gio”
ERICK ALAN TORRES DAVILA
also known as “Cachorro”
and

ELIZABETH LOPEZ-PEREZ
did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was 5 kilograms or more, that is, approximately 42 kilograms of a

mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance.

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A) and Title
18, United States Code, Section 2.
Count Five
On or about March 31, 2016, in the Southern District of Texas and within the jurisdiction

of the Court, defendants,

GUILLERMO MORALES
also known as “Don Gio”

DAVID MARTINEZ

OLEOMAR MONTALVO
also known as “Omar”

JESUS REMEDIOS MANQUEROS
ANTHONY RAY SANCHEZ
and

 

 

=

 

 

 

 
Case 7:16-cr-01589 Document 289 Filed on 11/01/16 in TXSD Page 5 of 10

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was 100 kilograms or more, that is, approximately 425 kilograms
of a mixture or substance containing a detectable amount of marijuana a Schedule I controlled
substance,

In violation of Title 21, United States Code, Sections 841(a(1) and 841(6)(1)(B) and Title
18, United States Code, Section 2.

Count Six

 

On or about April 11, 2016, in the Southern District of Texas and within the jurisdiction of
the Court, defendants,
ERICK ALAN TORRES DAVILA
also known as “Cachorro”
DILANNAMARIE-SANCHESZ AMAIRANI FLORES
also known as “Lizeth”
and
MARIO GONZALEZ
did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substances involved were 5 kilograms or more, that is, approximately 13 kilograms of
a mixture or substance containing a detectable amount of cocaine, a Schedule I] controlled
substance.
In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A) and Title
18, United States Code, Section 2.

Count Seven

 

On or about April 25, 2016, in the Southern District of Texas and within the jurisdiction of
the Court, defendants,

GUILLERMO MORALES

 

 

 

 

 

 
 

 

So ee

Case 7:16-cr-01589 Document 289 Filed on 11/01/16 in TXSD_ Page 6 of 10

also known as “Don Gio”
ERICK ALAN TORRES DAVILA
also known as “Cachorro”
DAVID MARTINEZ
HECTOR HERNANDEZ CARDENAS

ELMER MACARIO RAMOS
did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substances involved were 5 kilograms or more, that is, approximately 215 kilograms of
a mixture or substance containing a detectable amount of cocaine, a Schedule II controlled
substance.
In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A) and Title
18, United States Code, Section 2.
Count Eight
On or about May 12, 2016, in the Southern District of Texas and within the jurisdiction of
the Court, defendants,
DAVID MARTINEZ
OSCAR TANGUMA, JR

also known as “Flaco”

ARMANDO TANGUMA
akaANDREW MARTINEZ True Name: ANDRES MARTINEZ

and
HEATHER SEGURA
did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substances involved were 500 grams or more, that is, approximately 4 kilograms of a

mixture or substance containing a detectable amount of cocaine, a Schedule II controlled

substance.

 

 

 

 

 
 

Eee

 

Case 7:16-cr-01589 Document 289 Filed on 11/01/16 in TXSD Page 7 of 10

In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B) and Title

18, United States Code, Section 2.

Count Nine

On or about May 17, 2016, in the Souther District of Texas and within the jurisdiction of
the Court, defendants,
GUILLERMO MORALES

also known as “Don Gio”
and

did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was 50 kilograms or more, that is, approximately 82 kilograms of a
mixture or substance containing a detectable amount of marijuana a Schedule | controlled
substance.

In violation of Title 21, United States Code, Sections 841(a}(1) and 841(b)(1(C) and Title

1&, United States Cade, Section 2.

Count Ten

On or about August 30, 2016, in the Southem District of Texas and within the jurisdiction

of the Court, defendants,

DAVID MARTINEZ
and
EFRAIN GORES DIMAS LOPEZ
did knowingly and intentionally possess with intent to distribute a controlled substance. The
controlled substance involved was 50 grams or more, that is, approximately 1,955 grams of a
mixture or substance containing a detectable amount of methamphetamine, a Schedule II
controlled substance.

In violation of Title 21, United States Code, Sections 841(a\(1) and 841(b)(1)(A) and Title

18, United States Code, Section 2.

 

 

 

 

 

 
Case 7:16-cr-01589 Document 289 Filed on 11/01/16 in TXSD_ Page 8 of 10

wore

NOTICE OF CRIMINAL FORFEITURE

NOTICE OF FORFEITURE
(21 U.S.C. § 853)

Pursuant to Title 21, United States Code, Section 853, the United States gives notice to the
Defendants charged in Counts | and 4 through 10 of this Indictment, that upon conviction of a
violation of Title 21, United States Code, Sections 841 and/or 846,

1. all property constituting, or derived from, any proceeds obtained, directly or indirectly,

as the result of such violation; and

2. all property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of, such violation,

is subject to forfeiture.

NOTICE OF FORFEITURE
(18 U.S.C. § 982(a)(1))

Pursuant to Title 18, United States Code, Section 982(a)(1), the United States gives notice
to the Defendants charged in Counts 2 and 3 of this Indictment that upon conviction of a violation
of Title 18, United States Code, Section 1956, including conspiracy, all property, real and personal,
involved in such violation, and all property traceable to such property, is subject to forfeiture.

MONEY JUDGMENT

Defendants are notified that upon conviction, a money judgment may be imposed equal to
the total value of the property subject to forfeiture, for which the Defendants may be jointly and
severally liable.

PROPERTY SUBJECT TO FORFEITURE

Defendants are notified that the property subject to forfeiture includes, but is not limited

to, the following property:

a. at least $6,000,000.00 in United States currency;

 

 

 

 

 

 

 

 

 
 

 

—_

ere

Case 7:16-cr-01589 Document 289 Filed on 11/01/16 in TXSD Page 9 of 10

b. real property, improvements and appurtenances located in Donna, Texas and legally described

as follows:

Lot 54 Birch Subdivision Phase IT, Hidalgo County, Texas, according to the map
recorded in Volume 55, Page 60-62, Map Records in the Office of the County Clerk
of Hidalgo County Texas.

c. real property, improvements and appurtenances located in Edinburg, Texas and legally

described as follows:

Lot 22, SEMINOLE VALLEY, an addition to the City of Edinburg, Hidalgo County,
Texas, according to the map or plat thereof recorded in Volume 31, Page 99, Map
Records in the Office of the County Clerk of Hidalgo County, Texas, reference to
which here made for all purposes.

d. real property, improvements and appurtenances located in Weslaco, Texas and legally

described as follows:

A 5.60 acres out of Farm Tract 198, Block 181, West Tract Subdivision, Hidalgo
County, Texas, according to the map recorded in Volume 2, Page 34, Map Records in
the Office of the County Clerk of Hidalgo County, Texas, reference to which is here
made for all purposes.

SUBSTITUTE ASSETS

 

In the event that property subject to forfeiture, as a result of any act or omission of a

Defendant,
(1) cannot be located upon the exercise of due diligence;
(2) _ has been transferred or sold to, or deposited with, a third party;
(3) has been placed beyond the jurisdiction of the Court;
(4) _ has been substantially diminished in value; or
(5) has been commingled with other property which cannot be subdivided without
difficulty;
the United States will seek to forfeit any other property of the Defendant up to the total value of

 

 

cee net ne ne raceme:

 
Case 7:16-cr-01589 Document 289 Filed on 11/01/16 in TXSD Page 10 of 10

(5) has been commingled with other property which cannot be subdivided without
difficulty;
the United States will seek to forfeit any other property of the Defendant up to the total value of
the property subject to forfeiture, pursuant to Title 21, United States Code, Section 853(p), and
Title 18, United States Code, Section 982(b) incorporating by reference Title 21, United States
Code, Section 853(p).

A TRUE BILL

FOREPERSON
KENNETH MAGIDSON

UNITED STATES ATTORNEY

ASSISTANT UNITED STATES ATTORNEY

 

 

 

 

 

 

 
